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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MASSACHUSETTS

 DEBORAH LAUFER, Individually,                             :
          Plaintiff,                                       : Case No.: 3:20-cv-30087
 v.                                                        :
                                                           :
 PRATIK-SONAM CORPORATION, a                               :
 Massachusetts Corporation,                                :
              Defendant.
 _____________________________________

              PLAINTIFFS' NOTICE OF PENDENCY OF OTHER ACTIONS

       I hereby certify that the instant action is not related to any pending or closed civil or

criminal action previously filed in this Court, or any other Federal or State Court, or

administrative agency.

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record this June 19, 020.

                                                      Respectfully submitted,

                                                      Attorney for Plaintiffs:

                                                      _/s/ Nicholas J. Carbone__

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